Case 1:18-cv-00467-PAC Document 4-3 Filed 03/20/18 Page 1 of 2




   EXHIBIT 3
                                             Case 1:18-cv-00467-PAC Document 4-3 Filed 03/20/18 Page 2 of 2


                                                                                   Xunlei Loss Chart                                                                                         Lookback
                                                                 Class Period: October 10, 2017 and January 11, 2018                                                                         Price
Name             Date Purchased Shares Price per share Total          Date Sold     Shares     Price per Share Total                 Shares Retained Value Retained Total Loss/Gain           13.92199
Dunphy, Noelle        12/18/2017   3,000       ($44.13) ($132,390.00) 12/29/2017       1,000             $28.36         $28,360.00              2,000     $27,843.98         ($76,186.02)

Jiang, Yuejun         11/21/2017      500        ($22.26)    ($11,131.20)   1/2/2018      310          $16.49            $5,111.93
                      11/21/2017       10        ($22.37)       ($223.70)   1/3/2018    2,500          $16.36           $40,900.25
                      11/21/2017      100        ($22.80)     ($2,279.99)   1/3/2018    2,000          $16.56           $33,121.00
                      11/21/2017      200        ($22.83)     ($4,565.96)   1/3/2018    2,000          $19.38           $38,760.20
                      11/21/2017    1,500        ($22.24)    ($33,359.85)   1/3/2018    2,000          $19.39           $38,780.20
                      11/21/2017      200        ($22.33)     ($4,466.00)   1/9/2018    1,000          $20.81           $20,810.00
                      11/21/2017      300        ($22.40)     ($6,720.00)   1/9/2018    2,000          $20.25           $40,500.20
                        1/3/2018    3,000        ($16.07)    ($48,204.90)   1/9/2018    1,000          $20.39           $20,390.00
                        1/3/2018    5,000        ($16.03)    ($80,155.50)
                        1/5/2018    2,000        ($18.78)    ($37,562.00)
                        1/5/2018    1,000        ($18.89)    ($18,889.90)
                        1/5/2018    2,000        ($18.84)    ($37,670.60)
                       1/10/2018    1,000        ($22.58)    ($22,579.50)
                       1/10/2018      800        ($22.86)    ($18,288.00)
                       1/10/2018    1,000        ($23.09)    ($23,090.10)
                       1/10/2018      500        ($22.42)    ($11,209.50)
                       1/10/2018    1,000        ($23.24)    ($23,239.90)
                                   20,110                   ($383,636.60)              12,810                          $238,373.78             7,300     $101,630.54          ($43,632.28)

Total                              23,110                   ($516,026.60)              13,810                          $266,733.78             9,300     $129,474.52        ($119,818.30)
